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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA                        L<evafl os{ars
 UNITED STATES OF AMERICA.                          INDICTMENT

                       Plaintiff.                    l8 u.s.c.   $2
                                                     18 U.S.C.   $ r34l
        v.                                           l8 U.S.c.   $   e8l(aXlXC)
                                                     l8 U.S.c.   $   2a6l(c)
 l. GREGORY CARL KOCH and
 2. JEROME DAVID KANGAS.

                      Defendants.

       TTIE UNITED STATES GRAND JURY CHARGES THAT:

                                    INTRODUCTION

       l.      From approximately 2013 to June 2018, GREGORY CARL KOCH and

JEROME DAVID KANGAS used their positions as Manager of Retail Operations and

Continuous Pulmonary Airway Pressure (CPAP) clinician, respectively,                  at Victim
Company      to defraud Victim Company out of more than $505,000 through false and

fraudulent pretenses, representations, promises and omissions of material facts.

       2.      At all times relevant to this Indictment, Victim Company was a health          care

provider located in the State and District of Minnesota.

       3.      At all times relevant to this Indicbnent, GREGORY CARL KOCH was a

resident of the State and District of Minnesota. In or about May 201l, KOCH was hired

as a CPAP Clinician at    Victim Company. KOCH was promoted to Manager of Retail

Operations at Victim Company in approximately 2012. His job responsibilities included


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oversight of sales of CPAP machines at one of Victim Company's retail locations, as well

as the supervision      of numerous full and part-time ("casual") CPAP clinicians.

        4.       At all times relevant to this Indictment, JEROME DAVID KANGAS was a

resident of the'State and District of Minnesota. From approximately June 2013 until June

2018, KANGAS was employed by Victim Company as a "casual" CPAP clinician.

KANGAS' job responsibilities included instructing and educating customers regarding the

use and maintenance of CPAP machines.

                                             SCHEME TO DEF'RATJI)

        5.       Between approximately June 2013 and June 2018, defendants GREGORY

CARL KOCH and JEROME DAVID KANGAS, each aiding and abetting the other,

knowingly and intentionally devised and executed a scheme and artifice to defraud and to

obtain money from Victim Company by means ofmaterially false and fraudulent pretenses,

representations, and promises, and by concealment of material facts.

        6.       It was part of the scheme to defraud that, after he was promoted to Manager

of Retail Sales for Victim Company, KOCH assisted KANGAS in becoming a Victim

Company employee supervised                  by KOCH for the purpose of embezzling Victim
Company's funds.

        7.       It was part of the scheme to defraud that, in his supervisory capacity, KOCH

allocated to KANGAS certain overtime pay, referred to as "pager pdy," to which he was

not entitled to increase bi-weekly payroll checks issued to KANGAS by Victim Company.

"Pager pay" was compensation to which CPAP clinicians were entitled for responding to

calls from Victim Company customers outside of regular business hours.
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          8. It was part of the scheme to defraud that KOCH entered and approved
falsified work hours for KANGAS in Victim Company's electronic time entry system,

despite knowing that KANGAS did not work those hours. Over the five-year period that

KANGAS ostensibly worked for Victim Company, KOCH approved over 38,000 hours of

regular, weekend and overtime (including "pager pay") work on KANGAS' behalf.

          9.       It was part of the scheme to defraud that KOCH caused Victim Company to

issue bi-weekly payroll checks to KANGAS based on the fraudulent work hours KOCH

entered in Victim Company's time enfiy system.

          10.      It was part of the scheme to defraud that I(ANGAS received the bi-weekly

payroll checks from Victim Company by mail and deposited them into his Wells Fargo

Bank account, even though he well knew that he did not work the hours for which Victim

Company paid him.

          I   l.   Through the scheme and artifice to defraud described above, the defendants

GREGORY CARL KOCH and JEROME DAVID KANGAS caused Victim Company to

pay approximately $505,000 in wages to KANGAS for work that he did,not perform.

                                             couNTs r-5
                                             (Mail Fraud)

          12.      Paragraphs    I through I I   are incorporated by reference as   if fully   set forth

herein.

          13.      On or about the dates set forth below. in the State and District of Minnesota.

the defendants,

                                    GREGORY CARL KOCH and
                                     JEROME DAVID KAI\GAS,
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each aiding and abetting the other, for the purpose of executing and attempting to execute

the above-described scheme and artifice to defraud, knowingly sent and caused to be sent,

delivered and'moved by the United States Postal Service, according to the directions

thereon, various mailings, items and things, as described below:

  Count           Date of Mailine                                 Mailine
                   (on or about)
      I           March 18,2016    Payroll check in the amount of              $2,254.96 mailed to
                                   KANGAS bv Victim Comoanv
      2         November 25,2016 Payroll check in the amount of                $2,337.89 mailed to
                                   KANGAS bv Victim Companv
      3         September 1,2017 Payroll check in the amount of                $1,849.61 mailed to
                                   I(ANGAS bv Victim Company
      4          February 16, 2018 Payroll check in the amount of              $2,453.44 mailed to
                                   KANGAS by Victim Company
      5           April 27,2018    Payroll check in the amount of              $2,414.25 mailed to
                                   KANGAS bv Victim Comoanv


all in violation of Title 18, United States Code, Sections       l34l and2.
                                   FORFEITT'RE ATLEGATIONS

          The allegations contained in Counts           I   through   5 are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeitwe pursuant to Title 18, United

States Code, Section 981(a)(l)(C), as incorporated by Title 28, United States Code, Section

2461.

          Upon conviction of Counts          I through 6 of this Indictment,   the defendants shall

forfeit to the United States pursuant to Title 18, United States Code, Section 981(a)(l)(C),

any property constituting, or derived from, proceeds traceable to the violations of Title 18,

United States Code. Section 1341.
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         If   any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for in Title

21, United States Code, Section 853(p), as incorporated by Title 28, United States Code,

Section 2461(c).


                                             A TRUE BILL




UNITED STATES ATTORNEY                               FOREPERSON
